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5
     Attorney for Defendant
6    ALAN DAVID TIKAL

7
                                IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                  ) Case No. 2:12-cr-362 TLN
                                                )
11                 Plaintiff,                   ) STIPULATION AND ORDER TO VACATE
                                                ) STATUS CONFERENCE DATE; RESET TCH
12         vs.                                  ) AND TRIAL DATES; SET BRIEFING
                                                ) SCHEDULE AND TO EXCLUDE TIME
13   ALAN DAVID TIKAL,                          )
                                                )
14                 Defendant.                   )
                                                )
15                                              )

16      IT IS HEREBY STIPULATED AND AGREED between the parties, Philip Ferrari, Assistant

17   United States Attorney, attorney for Plaintiff, Matthew C. Bockmon, Assistant Federal Defender,

18   attorney for defendant ALAN DAVID TIKAL, Bruce Locke, attorney for defendant, TAMARA

19   TERESA TIKAL, and Philip Cozens, attorney for defendant, RAY JAN KORNFELD, that the
     status conference currently set for October 24, 2013 be vacated.
20
        Further the parties stipulate that the Trial Confirmation Hearing date of January 9, 2014 and
21
     Jury Trial date of February 3, 2014 be vacated, and a new Trial Confirmation Hearing date of
22
     August 21, 2014 at 9:30 a.m. and a Jury Trial date of September 15, 2014 at 9:00 a.m. be set.
23
        A motion briefing schedule is stipulated as follows: Motions shall be filed by June 14, 2014;
24
     Responses due by June 19, 2014; and Replies due by June 26, 2014. A Motion Hearing is set for
25
     July 10, 2014 at 9:30 a.m.
26
        A Superceding Indictment was filed in this case on September 11, 2013 naming two
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     additional defendants along with defendant ALAN DAVID TIKAL. The reason for the
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1    continuance is to allow defense counsel time to review voluminous discovery with the
2    defendants, to examine possible defenses and to continue investigating the facts of the case.

3       IT IS FURTHER STIPULATED that the period October 22, 2013 through and including

4    September 15, 2014, be excluded in computing the time within which trial must commence

5    under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for

6    continuity and preparation of counsel and 18 U.S.C. § 3161(h)(8)(B)(ii) and Local Code T2 for

7    complexity.
     Dated: October 22, 2013
8
9                                                 Respectfully submitted,

10                                                HEATHER E. WILLIAMS
                                                  Federal Defender
11
12                                                /s/ Matthew C. Bockmon
                                                  MATTHEW C. BOCKMON
13                                                Assistant Federal Defender
                                                  Attorneys for Defendant
14                                                ALAN DAVID TIKAL
15                                                /s/ Matthew C. Bockmon for
16                                                BRUCE LOCKE
                                                  Attorney for TAMARA TERESA TIKAL
17
                                                  /s/ Matthew C. Bockmon for
18                                                PHILIP COZENS
                                                  Attorney for RAY JAN KORNFELD
19
20   Dated: October 22, 2013                      BENJAMIN B. WAGNER
                                                  United States Attorney
21
22                                                /s/ Matthew C. Bockmon for
23                                                PHILIP A. FERRARI
                                                  Assistant U.S. Attorney
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                                                                             U.S. v Tikal, et al., 12-cr-362 TLN

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1                                                  ORDER
2           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
3    October 24, 2013, status conference hearing be vacated. It is also ordered that the Trial
4    Confirmation Hearing of January 9, 2014 is vacated and a new Trial Confirmation Hearing of
5    August 21, 2014 be set at 9:30 a.m. The trial date of February 3, 2014 is vacated and a new trial
6    date of September 15, 2014 be set at 9:00 a.m. The new motion briefing scheduled is adopted.
7    The motion hearing is scheduled for July 10, 2014 at 9:30 a.m.
8           Based on the representation of defense counsel and good cause appearing there from, the
9    Court hereby finds that the failure to grant a continuance in this case would deny defense counsel
10   reasonable time necessary for effective preparation, taking into account the exercise of due
11   diligence. The Court finds that the ends of justice to be served by granting a continuance
12   outweigh the best interests of the public and the defendant in a speedy trial. It is ordered that
13   time up to and including the September 15, 2014 trial date shall be excluded from computation
14   of time within which the trial of this matter must be commenced under the Speedy Trial Act
15   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of
16   counsel and 18 U.S.C. § 3161(h)(8)(B)(ii) and Local Code T2 for complexity.
17   Dated: October 23, 2013
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21                                                          Troy L. Nunley
22                                                          United States District Judge

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                                                                               U.S. v Tikal, et al., 12-cr-362 TLN

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